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                             UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


                                               )
INTERSECTIONS INC.                             )
       and                                     )
NET ENFORCERS, INC.,                           )
                                               )
                       Plaintiffs,             )
                                               )
                                                   Civil Action No. 1:09CV597
       v.                                      )
                                                                    LMB/TCB
                                               )
JOSEPH C. LOOMIS                               )
        and                                    )
JENNI M. LOOMIS,                               )
                                               )
                       Defendants.             )
                                               )

                               JURY DEMAND
            OF DEFENDANT AND COUNTERCLAIMANT JOSEPH C. LOOMIS

       Defendant and Counterclaimant Joseph C. Loomis demands a jury on all claims and

defenses so triable.

                                        Respectfully submitted,

                                        BRYAN CAVE LLP

                                        /s William E. Olson _______________
                                        Rodney F. Page (VSB #12402)
                                        William E. Olson (VSB #47251)
                                        Jennifer M. Kies (VSB #73102)
                                        1155 F Street, NW
                                        Washington, DC 20004
                                        Tel.: (202) 508-6002
                                        Fax: (202) 508-6200
                                        rfpage@bryancave.com
                                        weolson@bryancave.com
                                        jennifer.kies@bryancave.com
Dated: July 13, 2009                    Counsel for Defendant and Counterclaimant Joseph
                                        C. Loomis
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 13th day of July 2009, I caused the foregoing to be

electronically filed with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to the following:

                                      Ryan C. Berry
                                      Tara Lee
                                      DLA PIPER LLP (US)
                                      1775 Wiehle Avenue, Suite 400
                                      Reston, VA 20190

                                      Counsel for Plaintiffs Intersections, Inc. and Net Enforcers,
                                      Inc.



                                      /s William E. Olson
                                      William E. Olson, VA Bar. No. 47251
                                      Bryan Cave LLP
                                      1155 F Street, NW
                                      Washington, D.C. 20005-3960
                                      Telephone: (202) 508-6000
                                      Facsimile: (202) 508-6200
                                      weolson@bryancave.com

                                      Counsel for Defendant and Counterclaimant Joseph C.
                                      Loomis




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